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wAYNE PORTER CHARLOTTE, N, gd
REG. No. 00622-043 t ,, h,
3901 KLEIN BOULEVARD ~ `H .;\O mm

LOMPOC, CA 93436

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339 _S_E W' °'ST' °F N. c.

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

No. cv. 3 O'CU 5 77“[' l/

WAYNE PORTER,

Plaintiff, (CH-CR-85-62-01)
NOTICE 0F noTIoN AND MOTION
v. PURSIJANT To TITLE 28, UNITED

OF POINTS AND AUTHORITIES

DATE: Z)¢_,_¢¢_ES , 2000
TIME: : 45 AM

COURT: JUDGE ROBERT D. POTTER

UNITED STATES OF AMERICA,

)
)
)
§
) STATES coDE, § 2255; MEMORANDUM
)
)
)
Respondent. )
)

 

TO: Honorable Robert D. Potter, United States District Court
Judge, Assistant United States Attorney, Kenneth D. Bell,
Clerk of the above entitled Court:

PLEASE TAKE NOTICE that on the above mentioned date and time
or soon thereafter, Wayne Porter, proceeding pro §§, will hereby
move the court under 28 U.S.C. § 2255 to vacate his conviction and
sentence in the Western District of North Carolina.

MOTION PURSUANT TO TITLE 28, UNITED STATES CODE, § 2255

Title 28, United States Code, § 2255 [§ 2255] provides a
mechanism whereby a prisoner in custody of a federal court may
claim the right to be released upon the ground that the sentence
was imposed in violation of the Constitution or laws of the United
states, "or that the court was without jurisdiction to impose such

a sentence, or that the sentence was in excess of the maximum

authorized by law, or is otherwise subject to collateral

attack..." 28 U.S.C. § 2255. The statute in effect at the time of
nzb Porter's conviction and sentence allowed such a motion to be made
C .
at anytimei" l§. Cj
Case 3:Ol-cv-00577-RLV Documentl Fl|ed 05/30/00 ¢/

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WAYNE PORTER

REG. NO. 00622-043
3901 KLEIN BOULEVARD
LOMPOC, CA 93436

PRo §§

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

wAYNE PORTER,
Plaintiff,

NO. CR.
(CH-CR-85-62-01)

UNITED STATES OF AMERICA,
Respondent.

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MEMORANDUM OF POINTS AND AUTHORITIES IN
SUPPORT OF MOTION PURSUANT TO TITLE 28,
UNITED STATES CODE, SECTION 2255

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WAYNE PORTER

REG. NO. 00622-043
3901 KLEIN BOULEVARD
LOMPOC, CA 93436

PRO §§

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

WAYNE PORTER,
Plaintiff,

No. cR.
(cH~CR»85-62-01)

UNITED STATES OF AMERICA,
Respondenti

 

MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
OF MOTION PURSUANT TO TITLE 28, UNITED STATES
CODE, SECTION 2255

COMBINED STATEMENT OF FACTS AND PROCEDURE

On July 16, 1985, Porter was indicted on 28 counts of a 45
count indictment. Either prior to trial or during trial, the
district court dismissed 12 of the 28 counts, thus allowing the
jury to decide only 16 counts in their deliberation, which
resulted in a verdict of guilty on all counts.

On direct appeal, the Court rendered a published opinion
United States vi Porter, 821 F42d 968 (4th Cir. 1987). The Court
reversed five of the 16 counts Porter was convicted of, finding
insufficient evidence to support the jury's verdict of guilt5

In addition to the five counts that was reversed for

insufficient evidence, the Court set aside the sentences, but not

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the convictions, on four other separately charged conspiracy
counts. In all other respects, the judgements of the District

Court were affirmed.

STATEMENT OF JURISDICTION

This Court has jurisdiction pursuant to Title 28, United
States Code, Section 2255. Which allows a defendant to attack his
invalid conviction or sentence in light of the Supreme Court's
interpretation of a criminal statute, if that interpretation
reveals that the defendant's convictionr resulted from a district
court's instructions which erroneously lessened the government's
burden of proof on the essential elements of the offense charged,
applies to collateral review. 28 U.S.C.A. 2255.

On June 1, 1999, the Supreme Court decided Richardson v.

United States, 526 U.S. 813, 119 S.Ct. 1707, 143 L.EdiZd 985

(1999), and determined that a jury in a § 848 case must
unanimously agree not only that the defendant committed some
"continuing series of violations," but also, which specific
"violations make up that 'continuing series'".

The Supreme Court's holding in Richardson is a statutory
interpretation of the law `based upon history, tradition, and
practice. Therefore, the Court's holding in Richardson involves
the substantive construction of a criminal statute. Therefore, in
light of Bousley vi United States, 118 S.Ct. 1604 (1998),
Richardson applies retroactively because it set forth substantive

law 118 S.Ct. at 16094

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STATEMENT OF THE ARGUMENT

The Supreme Court held in Richardson that a jury in a federal
criminal case brought under § 848 must unanimously agree not only
that the defendant committed some "continuing series of
violations" but also, that the defendant committed each of the
individuals violations necessary to make up that "continuing
seriesi"

The Court's holding in Richardson reveals the Trial Court in
Porter's case erred by failing to properly instruct the jury that
they must not only unanimously agree that Porter committed some
continuing series of violations, but they must also unanimously
agree as to which three individuals violations they found that
satisfied this element of the CCE statute.

In this case the jury was only required to find that Porter
committed some three felony violations of the narcotics laws,
without being required to unanimously agree as to which three
violations constituted the continuing series of underlying
offenses that formed the basis for the CCE conviction. The
Richardson error is based on the omission of a required
instruction. In petitioner's case the omission effectively
withdraw an element of the offense form the jury's consideration‘

Had the Court properly instructed the jury and not omitted the
necessary element of the offense; Petitioner could prove the
outcome would have been different. That omitting the Richardson
instructions could have permitted the jury to avoid discussion of
the specific factual details of each violation, thus potentially

covering~up wide disagreement among the jurors about just what the

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defendant did, or did not, do.

There were also other fundamental errors in the Court's
charge. The Court instructed the jury they could find as part of
the continuing series of CCE predicate offenses, counts that
charged that Porter traveled in interstate commerce for purposes
of carrying on an illegal drug activity in violation of 18 U.S.C.
§ 1952. Those violations do not qualify as "violations" under the
CCE statute and thereby permitted the jury' to return a guilty
verdict on legally inadequate grounds because they were not
proscribed by Title 21, subchapters I or II, or that the five
separately charged conspiracy counts could not constitute part of
the "series of violations". The jury was not allowed to consider
whether there was one conspiracy, or whether there was five
separate conspiracies as alleged in the indictment.

At the time of Petitioner's trial in this case, this Circuit
had already ruled that violations of Title 18 U.S.C. §§ 2 and 1952
do not qualify as predicate felonies for a CCE charge.

The CCE statute's unanimity requirement and this Circuit's
holding that only Title 21 offenses could serve as underlying
offenses for a CCE violation represented a viable defense to the
CCE charge in this case. Nonetheless, defense counsel failed to
present it to the jury by failing to object to jury instructions
which did not include the three specific violations as elements of
the offense and by failing to propose proper instructions.

The United States Supreme Court has since held that the three
predicate offenses do constitute separate elements of the CCE

offense. As a result, review of the jury instructions given below

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reveals that they failed to require the government to prove these
elements beyond a reasonable doubt, and therefore failed to
produce a verdict consistent with Petitioner's Sixth Amendment
right to a jury trial. This constitutional deprivation occurred
without objection by defense counsel.

The jury instructions' variance from the requisite elements
of the CCE offense further prejudiced the integrity of the
adversarial testing process to the detriment of Petitioner to the
degree of violating Porter's rights to due process.

The lack of representation afforded Petitioner with respect to
the jury instructions violated his right to effective assistance
of counsel. The basic inquiry when applying the Strickland
standards for reviewing claims of ineffective assistance is
whether counsel's deficient performance precluded meaningful
adversarial testing of the government's evidence by appropriate
legal standards. The errors of Porter's counsel in this case
eliminated the adversarial testing of the government's proof of
essential elements of the offense and resulted in the jury resting
their verdict on legally inadequate theories. Each result
represents a breakdown in the adversarial testing process
establishing that Petitioner has been denied his Sixth Amendment
right to effective assistance of counsela Consequently, Porter is
entitled to relief based upon (a) the denial of effective
representation as guaranteed by the Sixth Amendment; and (b) the
denial of Porter's Sixth Amendment right to a jury, since
procedural default of the later claim is excused by establishment

of the former. Moreover, even if this Court could find counsel‘s

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performance satisfied Petitioner's right under the Sixth
Amendment, the record reflects cause and prejudice excusing
procedural default of Porter‘s Sixth Amendment claim based upon

the deprivation of his right to a jury trial.

ARGUMENT
A. THE JURY INSTRUCTIONS GIVEN WERE PLAINLY ERRONEOUS
AND CONSTITUTIONALLY DEFICIENT, VIOLATING

PETITIONER'S SIXTH AMENDMENT RIGHT TO A JURY TRIAL
BY FAILING TO PRODUCE A UNANIMOUS VERDICT AS TO
EACH OF THE ESSENTIAL ELEMENTS OF THE OFFENSE.

Before directly examining the issue of whether trial counsel's
representation was constitutionally ineffective under the
standards set forth by the Supreme Court in Strickland v.
Washington, 466 U.S. 668, 104 S.Cti 2052, 80 LiEd.2d 674 (1984),
it is necessary to examine the severity of the harm worked by the
jury instructions to the fairness of Petitioner's trial over his
counsel's silencei Such an examination of the jury instructions
serve two purposes. First, the instructions were so deficient they
appear to have workad a separate constitutional deprivation of
Porter‘s Sixth Amendment rights entitling him to § 2255 relief.
Second, the extent of prejudice caused by the instructions
highlights the degree to which counsel at trial and on direct
appeal rendered ineffective assistance, as discussed infra.

Title 21 U.S.C. § 848 forbids any person from "engaging in a
continuing criminal enterprise," and through its definition of
that term, requires proof the violations alleged, be part of a
"continuing series of violations" under the narcotics laws

embodied in subchapters l or ll of Title 21, United States Code.

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In Richardson v. United States, the United States Supreme Court
recently held that each of the "violations constituting the
series" are elements under § 848. Consequently, the Supreme Court
held, the jury must unanimously find the government has proven
each of the "violations" constituting the "series" beyond a
reasonable doubt. 119 S.Cti 1709. A review of the Supreme Court's
means vs elements analysis is not pertinent to this petition. The
import of the decision is its holding that each of the violations
must be unanimously found by the jury deciding the accused's fate.
In Petitioner's case, the District Court failed to require such a
finding by the jury.

As to the "continuing series of violations" element, the jury
instructions given below only required a finding that Porter
committed three or more acts specifically prohibited by certain
sections of the United States Code. In short, the jury
instructions given in Petitioner‘s case failed to require a
unanimous verdict of guilt beyond a reasonable doubt as to the
essential elements of the offense.

This omission rendered the instructions constitutionally
deficient. In Sullivan v. Louisiana, 508 U.S. 275, 113 S.Ct. 2078,
142 L.Ed.2d 182 (1993), the trial court gave the jury a
"reasonable doubt" instructions which violated the accused's Fifth

and Sixth Amendment rights under Cage v. Louisiana, 498 U.S. 39,

 

111 s.ct.. 328, 112 L.Ea.2a 339 (1990). The supreme court granted
certiorari to determine the standard of review applicable to such
a constitutional deprivation. The Supreme Court held that the

instruction resulted in the type of "structional error‘l which

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defied harmless error analysis and automatically required vacation
of his conviction. 113 S.Ct. at 2083. See also, Neder v. United

States, U.S. , 119 S.Ct. 1827, 1835. (Decided June 1,

 

1999) (improper instructions on elements of the offense violates
the Sixth Amendment's jury trial guarantee).

As in Sullivan, the jury‘s verdict below' did not satisfy
Petitioner's right to a jury because it did not represent a
finding of the facts essential to meet the elements of the
offense. §;g., Patterson v. New York, 432 U.S. 197, 210, 97 S.Ct.
2319, 2327, 52 LiEd.Zd 281 (1977). In re Winship, 397 U.S. 358,
364, (1970). This point is demonstrated by use of the Supreme
Court's analytical framework centering on mandatory presumptions
violative of the Fourteenth Amendment. §§e, Sullivan, 508 U.S. at
208~81, 113 S‘Ct. at 2082. The jury in this case was not required
to find beyond a reasonable doubt the existence of facts that were
"so closely related" to each of the elements of the offense that
their‘ findings were the functional equivalent of finding' the
"element" required proven. 1§3 The jury was required only to find
a "series of violations of the federal laws." They were not
required to unanimously find the same three "violations" or that
the offenses constituting the "series" were felony violations of
Title 21, subchapters 1 or II, as required by § 848. A finding of
a "series of violations of the federal narcotics laws" is not "so
closely related" to a unanimous finding of three specific
violations constituting felonies under subchapters I and ll for

the two to be considered "functionally equivalent." As such, the

jury's verdict below does not represent a "complete verdict" as to

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each essential element required under § 848. This violated

Porter's Sixth Amendment jury trial guarantee.

In sum, Petitioner is correct in asserting that the jury
instructions given over trial counsel's silence denied him his

Sixth Amendment right to a jury verdict of guilt beyond a

reasonable doubt as to each of the elements of § 848.

B. THE JURY INSTRUCTION WERE ALSO DEFECTIVE BECAUSE
THEY PERMITTED THE JURY TO BASE THEIR GENERAL
VERDICT ON VIOLATIONS OF TITLE 18 U.S.C. § 2 AND
1952, WHICH WERE LEGALLY INADEQUATE FOR A
CONTINUING CRIMINAL ENTERPRISE CONVICTION.

The jury instructions given in this case were prejudicial
beyond the fact that they failed to require jury unanimity on all
essential elements of the offense. The District Court erroneously

instructed the jury that:

If you find beyond a reasonable doubt that the
defendant Wayne Porter, is guilty as charged in
one or more of Counts One, Two,%Seven, Sixteen,
Seventeen, Eighteen, Nineteen, Twenty-Four,
Twenty-Five, Twenty-Six, Twenty-Seven,
Twenty-Eight, which he is charged with in the
indictment, and that the conduct charged in any of
these counts, together with additional violations
of the drug laws, where ever they occurred,
constitute a total of three or more violations of
the federal drug laws committed over a period of
time with a similar purpose. This will constitute
a finding that the defendant, Wayne Porter,
engaged in a continuing series of violations.

ld., Trial Record Volume 9, at pp. 216 and 217,
(Emphasis added).

Here, Counts Two, Four, and seven alleged violations of 21
U.S.C § 84l(a)(1), and 18 U.S.C. § 2. Counts Seventeen and Twenty-

Five alleged violations of 18 UiS.C, § 1952.

The instructions erroneously permitted the'jury to find as the

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felony violation § 848(€)(1) and the continuing series §
848(c)(1), violations of Title 18 U.S.Ci §§ 2 and 1952i Therefore,
the jury was allowed to return a guilty verdict under § 848, on
legally inadequate grounds. Because the instructions specifically
provided that Title 18 U.S.C. §§ 2 and 1952 offenses could
constitute the felony violation and the "continuing series of
violations" despite the fact they were not proscribed by Title
21, subchapters l or ll.
This Circuit had made clear, years prior to Porter's trial,

in United States v. Webster, 639 F.2d 174, 181 (4th Cir. 1981),
that violations of 18 U.S.C. §§ 2 and 1952, could not support a
conviction under 21 U.S.C. § 848. The Court opined:

None of those provisions are among the ones

described in 21 U.S,C. § 848(b) as comprising a

"continuing criminal enterprise."

law at 181.

In its instructions, the court incorrectly
informed the jury that the violations of 18 U.S‘C.
1952(8)(3) could support Conviction under § 848.

Ibid.
This Circuit reiterated in United States v. Ricks, 776 F.2d
455 (4th Cir. 1985), that only violations found in Title 21, would
suffice to support a CCE conviction. The Court opined:
[W]e must decide what offenses may be used as
predicates for the CCE violation 1.. since
§ 848(b) refers to "violations of this subchapter
or subchapter II of this chapter [21 U.S.C. §§

801-966}, violations of 18 U.S.C. §§ 2 and 1952 do

not qualify as predicate felonies for a CCE
charge ...

ld., at 463.

The Supreme Court has ruled that general verdicts should be

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set aside when one of the possible basis of conviction is
unconstitutional, Stromberg v. California, 283 U.S. 359, 51 S.Ct.
532, 75 L.Ed. 1117 (1931), or legally inadequate, Yates v. United
_i________hi____

§§§Ees, 354 U.S. 298, 77 S.Ct. 1064, 1 L.Ed.2d 1356 (1957), but
not when one of the grounds submitted is supported by insufficient
evidence. Griffin v. United States, 502 U.S. 46, 60, 112 S.Ct.
466, 474, 116 L.Ed.2d 371 {1991) (though holding "it would
generally be preferable" to give an instruction removing the
unsupported ground from the jury's consideration); see also,
Turner vi United States, 396 U.Si 398, 90 S.Ct. 642, 24 L.Ed.2d
610 (1970). ln Griffin, the Supreme Court distinguished Stromberg
and Yates from Griffin and Turner by the following:

Jurors are not generally equipped to determine

whether a particular theory of conviction

submitted to them is contrary to law-- whether,

for example, the action in question is protected

by the Constitution, is time barred, or fails to

come within the statutory definition of the crime.

When, therefore, jurors have been left the option

of relying upon a legally inadequate theory, there

is no reason to think that their own intelligence

and expertise will save them from that error.

Quite the opposite is true, however, when they

have been left the option of relying upon a

factually inadequate theory, since jurors are well

equipped to analyze the evidence.

ld., Griffin, 502 U.S. at 59, (emphasis added).

In this case, the instructions permitted not only violations
of Title 18 to be considered by the jury as underlying offenses
for the CCE violation, but also, allowed the jury to considered
Counts 27 and 28 of the indictment as two of the violations needed
for the "continuing series," when the Court had already ruled

before the case was submitted to the jury, that the government had

presented no evidence about the substance of the calls placed by

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Porter from Lyons, Georgia, to Porter's residence in Wilkes
County. Therefore, the Court dismissed those charges as to Terry
Porter, but refused to do the same as to Wayne Porter, despite the
fact that no connection was made between any of the calls or any
illegal drug transaction by Porter.

Counts 27 and 28 were not the only counts the government
failed to present sufficient evidence to allow the jury to
consider those offenses as part of the continuing criminal
enterprise charge over the defendant's same objection. There were
others, for example, the government failed to show that any overt
act alleged in Count 16, was committed in the Western district of
North Carolina. The same also applied with respect to Counts 17
and 25, which charged that Porter travelled in interstate commerce
in violation of 18 U.S.C. § 1952.

Here, the jury's verdict clearly reveals a genuine possibility
of juror confusion about the necessary violations needed to
trigger the statutei For example, six of the twelve counts, the
jury was allowed to consider as underlying offenses, that formed
the basis for the CCE conviction, were either violations of Title
18 U.S.C. § 1952 or they were reversed on direct appeal for either
lack of evidence as to some counts or no evidence at all as to
other counts. Also, the sentences, but not the convictions, were
vacated on four other separately charged conspiracy counts because
of double jeopardy implications.

The jury's verdict clearly reveals they were confused about
what Porter did or did not do.

ln this case, the instructions left the jurors with the

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opportunity to rely upon not merely gne, but six legally
inadequate theories to support the "series of violations" element
and there is no reason to think they did not err.

The instructions also allowed the jury to count the five
separately charged conspiracies charged in Counts 1, 16, 18, 19,
and 24 as "violations" in the requisite "series", when both logic
and precedent from this Circuit and other circuits dictate that
the same conspiracy satisfying the first element of § 848 cannot
also be included to satisfy the three predicate "violations"
required by the second element. This proposition had been excepted
by this Circuit at the time of Porter's trial. United States v.
pur§, 666 F.2d 69 (4th Cir. 1981). See also, United States v.
§aker, 905 F.2d 1100 (7th Cir. 1990). The Supreme Court's holding
in Rutledge v. United States, 517 U.S. 292, 116 S.Ct. 1241, 134
L.Ed.2d 419 (1996), that "a conspiracy as defined in § 846 does
not define a different offense from the CCE offense defined in §
848" would seem to settle the issue. The jury should have been
instructed that the conspiracies charged in Counts l, 16, 18, 19,
and 24 were necessary to satisfy the "in concert element" of Count
34, and should not be considered as "violations" constituting the
requisite series under the second element of the § 848 counti

lf the instructions given in this case, and the general
verdict they authorized, were challenged at trial and on direct
appeal they would necessitate reversal pursuant to United States
v. Head, 641 F.2d 174 (4th Cir. 1981), where the Court held:

[W}e agree with the Ninth's Circuit's view, ...
that Stromberg v. California, 283 UiS. 35, 51

S.Ct. 532, 75 LrEd. 1117 (1931), compels an
appellate court to reverse where a general verdict

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renders it impossible to say whether a defendant
was convicted under an erroneous view of the law.

£d., Head, at 179.

ln sum, the instructions deficiency of failingl to require
juror unanimity on each of the elements of the § 848 charge was
significantly compounded by the instructions implicit permission
to the jury to rest a guilty verdict on legally inadequate
theories. This demonstrated prejudice worked by the jury
instructions further highlights the extent to which Petitioner's
counsel was ineffective both at trial and on direct appeal.

C. THE FAILURE OF PORTER'S COUNSEL TO OBJECT TO OR TO
OTHERWISE CHALLENGE SUCH POTENTLY PREJUDICIAL AND
CONSTITUTIONALLY DEFICIENT 'JURY INSTRUCTIONS
CONSTITUTED INEFFECTIVE ASSISTANCE OF COUNSEL.

The lack of representation afforded Petitioner with respect to
the jury instructions violated his rights to the effective
assistance of counsel. Consequently, Porter is entitled to relief
based upon (a) the denial of effective representation as
guaranteed by the Sixth Amendment, and (b) the denial of
Petitioner's Sixth Amendment right to a jury, since procedural
default of the latter claim is excused by establishment of the
former. "Absent unusual circumstances, a showing of ineffective
assistance of counsel satisfies both cause and prejudice.‘l

0f course, the standard relied upon for assessing a claim of
ineffective assistance of counsel were set forth by the Supreme
Court in Strickland v. Washinqton, 466 U.S. 668, 104 S.Ct. 2052,
80 L.Ed. 674 (1984)» However, the verbiage of the two-prong test

set forth in the Strickland opinion should not mechanically be

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repeated and applied without regard to the Supreme Court's
statements revealing its purpose. In Kimmelmen v. Morrison, 477
U.S. 365, 106 S;Ct. 2574, 91 L.Ed.2d 305 (1986), the Supreme Court

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The essence of an ineffective claim is that
counsel's unprofessional errors so upset the
adversarial balance between defense and
prosecution that the trial was rendered unfair and
verdict rendered suspect.

;g., 477 U.s. at 374.

The Supreme Court has repeatedly indicated that the balance is
upset when, because of counsel‘s errors, the prosecution's
evidence is not subjected to meaningful adversarial testing:

The right to the effective assistance of counsel
is the right of the accused to require the
prosecution's case to survive the crucible of
meaningful adversarial testing. When a true
adversarial criminal trial has been conducted--
even if defense counsel may have made demonstrable
errors-- this kind of testing envisioned by the
Sixth Amendment has occurred. But if the process
loses its character as a confrontation between

adversaries, the constitutional guarantee is
violated.

E.g., United States v. Cronic, 466 U.S. 648, 651,
104 s.ct. 2039, 2045, 80 L.Ea.2a 659 (1984).

The errors of Porter‘s counsel in this Case eliminated the
adversarial testing of the government's proof of essential
elements of the offense (Argument "A", page 5, §gp£a) and likely
resulted in the jury resting their verdict on legally inadequate
theories (Argument "B", page 7, _§gpra). Each result represents a
breakdown in the adversarial testing process establishing that
Petitioner has been denied his Sixth Amendment right to effective

assistance of counsel.

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(1) OBJECTIVE REASONABLENESS

Under the first prong of the standard set forth by the Supreme
Court in Strickland, supra, petitioner "must show that counsel
'failed to exercise the customary skills and diligence that a
reasonably competent attorney would [have] exhibit[ed] under
similar circumstances.'" §§ylor v. Starnes, 650 F.2d 38 (4th Ciri
1981); citing McNamara v. United States, (4th Cir. 1994). Further
focusing the proper analysis under the first prong, the Supreme
court again focuses the inquiry on making the adversarial testing

process work:

In making the competency determination, the court
should keep in mind that counsel's function, as
elaborated in prevailing professional norms is to
make the adversarial testing process work in the
particular case.

§d., Strickland, 466 U.S. at 690.

Porter submits that, as a matter of law, the adversarial
testing process does not work when the government's evidence is
not tested by the jury as to each essential element of the
offense.

It is fundamental that the function of defense counsel at
trial is to learn all that is required of the government to prove
the offense charged, to confront the prosecution's evidence
offered to prove these elements-- through effective cross-

examination or the presentation of defense witnesses, and to argue

The adversarial testing process does not work then, because of

neglect or incompetence rather than strategy, viable defenses are

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not presented to the jury by the introduction of evidence, by
argument, and by proper jury instructions. Reasonable
investigation of possible defense theories in this case would have
lead to the discovery of United States v. Lurz, 666 F.2d 69, 76
(4th Cir. 1981). ln Lg£§, the Court held: "One may not first prove
a conspiracy to distribute to establish a § 846 violation, and
then move on to convict under § 848 as well, by using the very
same conspiracy to distribute for the felony' violation of 'the
federal narcotics laws (item one in the five point scheme)". In
United States v. Ricks, 776 F.2d 455 (4th Cir. 1985), the §igks
Court, relying on United States v. Webster, 639 F.2d 174, 181 (4th
Ciri 1981), held that: "[s]ince § 848(b) refers to 'violations of
this subchapter or subchapter ll of this chapter [21 U.S.C. §§
801-966],' violations of 18 UES.C. §§ 2 and 1952 do not qualify as
predicates felonies for a CCE charge." These precedents disclosed
Porter's most viable defenses to his most serious charge.
Accordingly, to fulfill his function of making the adversarial
testing process work, it was incumbent upon defense counsel to
present the defenses to the jury as part of the jury instructions.
lnstead of proposing jury instructions that failed to require the
government to fully meet their burden of proof, defense counsel in
this case quietly acceded to instructions affirmatively lessening
the government's burden by allowing conviction on numerous legally
inadequate theories. This representation fell below an objective

standard of reasonableness under the first prong of the Strickland

inquiry.

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(2) PREJUDICE
Under the second prong of the Strickland standard,
Petitioner must show: that their is a reasonable
probability that, but for counsel's unprofessional
errors, the result of the proceeding would have
been different. A reasonable probability is a
probability sufficient to undermine confidence in
the outcome.
Strickland, 466 U.S. at 694.
Again, the Supreme Court indicated that this principle is not
to be mechanically applied based upon speculation about the
expected outcome but rather upon reliability of the adversarial

process:

The ultimate focus of inquiry must be on the
fundamental fairness of the proceeding whose
result is being challenged. ln every case the
court should be concerned with whether, despite
the strong presumption of reliability, the result
of the particular proceeding is unreliable because
of a breakdown in the adversarial process that our
system counts on to produce just results.
Strickland, 466 U.Si at 696.

"lf counsel entirely fails to subject the prosecution's case
to meaningful adversarial testing, then there has been a denial of
Sixth Amendment rights that. makes the adversary process itself
presumptively unreliable." United States v. Cronic, supra.

For the reasons presented in the foregoing arguments,
counsel's performance in this case prejudiced the reliability of
the adversarial testing process in a variety of ways. Most
dramatically, counsel's performance removed from the adversarial
testing process at least one element of the government's burden of
proof. See, Gray v. Lynn, 6 F.3d 265, 269 (5th Cir. 1993).

Similarly, it precluded presentation of viable defenses based upon

the elements removed from consideration. See, United States v.
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§pa£, 75 F.3d 1383 (9th Cir. 1996)i Additionally, counsel's
performance resulted in the jury's opportunity to convict
petitioner upon legally inadequate theories. See, Patterson v.
gang 769 F. supp. 1103, 1107-13 (D. Neb. 1991).

In §r§y} a state prisoner convicted of attempted first-degree
murder claimed ineffective assistance of counsel based upon the
failure to object to an erroneous elements instructions. Though
Louisiana law required a specific intent to kill a human being,
the prisoner's counsel failed to object to an instruction that he
could be found guilty if he had either the intent to kill or the
intent to inflict great bodily harm. U.S. v. Hord, 276 F.3d at
286-89 (5th Cir. 1993). In the habeas proceeding, the state of
Louisiana conceded that counsel's failure to object fell outside
the range of professional competencei 6 F.3d at 369. Noting that
"it is more than well settled that juries are presumed to follow
their instructions," the Court of Appeals for the Fifth Circuit
granted habeas relief and ordered a new trial. 6 F3d at 271. This
case is analogous. Just as in §§ay, the erroneous elements
instructions given in this case relieved the prosecution of
proving an element of the offense-- three specific felony
violations of Title 21, subchapters l and ll of the United States
Code. Just as in §§ay, the failure of defense counsel to object to
the Title 18 offenses being utilized to prove the three predicate
offenses for the CCE conviction placed his representation outside
the range of professional competence.

ln §pa§, the Ninth Circuit Court of Appeals vacated the

convictions of two defendants charged with assaulting a federal

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officer in violation of 18 U.SPC. § 111. Though counsel offered
three proposed instructions on similar affirmative defenses,
counsel failed to offer an instruction on the defense that a
person has a right to resist an officer who is using excessive
force. 75 F.3d at 1388-89. The Ninth Circuit rejected the
government's argument that the decision was strategic and
therefore entitled to deference, reasoning:

Counsel's errors with the jury instructions were

not a strategic decision to forego one defense in

favor of another. They were the result of a

misunderstanding of the law.

ld., at 1390.

Similarly, in this case defense counsel's misunderstanding of
or failure to research § 848 resulted in his failure to present
viable defense to the jury for their consideration.

In Patterson, a state prisoner convicted of conspiracy to
commit murder sought habeas corpus relief based upon claims of
ineffective assistance of counsel. United States District Judge
Warren Urbon granted relief, accepting the report and
recommendation of Magistrate Judge David Piestera The prisoner had
been charged with first-degree murder. The District Court granted
relief on the prisoner's claim that counsel was ineffective by
requesting a jury instruction on conspiracy to commit murder as a
lesser-included offense. "The tactic may have worked to the
prisoner' advantage, as he was acquitted of both first and second-
degree murder". Citing the above quoted language from. Cronic,
§gp£a, Magistrate Judge Piester reasoned that defense counsel
"stepped outside the role of advocate for the petitioner and

assumed the role of prosecutor.“ 769 F. Supp. at lllO-llll.

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The Court explained how counsel's efforts, though engaged with
the intent to save their client, upset the adversarial balances

In every criminal case it is the function of the
prosecuting attorney to determine the potential
charges which are justified from the facts and
evidence arising form a particular case. The
essence of the adversarial process is that a state
must give a defendant notice of the charges
against him or her in order that the defendant may
properly prepare a defense, {citation omitted],
and the state must prove, beyond a reasonable
doubt, that the defendant committed the acts
charged. Here counsel for the petitioner
effectively amended the state*s information
against the petitioner to include a charge which
the state chose not to bring in the first place.
769 F. Supp. at llll.

Citing and relying upon Ricalday v. Procunier, 736 F.2d 203
(5th Cir. 1984), the district court concluded that “petitioner's
counsel were not acting as effective advocates for their client at
the time they submitted a proposed instruction which endorsed and
uncharged crime against him." ld. This case is similar to
Patterson because the failures of defense counsel with respect to
the jury instructions given in this case resulted in the
opportunity to convict Porter upon legally inadequate theories.
Just as ineffective counsel in Patterson endorsed convictions of
their clients on the otherwise unavailable charge of conspiracy,
counsel in this case silently endorsed conviction of Porter on a
host of legally inadequate theories which should have been
unavailable.

Petitioner submits that when the government is not required to
prove each element of the offense, his case has not been subjected

to "meaningful adversarial testing" and the presumption of

unreliability suggested by the Supreme Court in Cronic applies.

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This is especially true when, instead of being able to find each
essential element, the jury is permitted to convict the accused
based on several legally inadequate grounds. This is what occurred
in this case amidst the silence of defense counsel. Prejudice is
accordingly established.

Based upon the foregoing, the lack of representation afforded
Porter with respect to the jury instructions violated his Sixth
Amendment right to the effective assistance of counsel. This
entitles Petitioner to § 2255 relief based upon his right of the
Sixth Amendment claims.

D. THE RECORD REFLECTS CAUSE AND PREJUDICE EXCUSING
PROCEDURAL DEFAULT OF PETITIONER'S SIXTH AMENDMENT
CLAIM BASED UPON THE DEPRIVATION OF HIS RIGHT TO A
JURY TRIAL, NOTWITHSTANDING WHETHER HE RECEIVED
INEFFECTIVE ASSISTANCE OF COUNSEL.

ln the event this Court would find that Porter has not
established his ineffective assistance of counsel claims, the
failure of Petitioner counsel to challenge the instructions at
trial and on direct appeal would necessitate an examination of
whether Porter can demonstrate "cause of the procedural default"
of his Sixth Amendment claim based upon the deprivation of his
right to a jury and "actual prejudice resulting from the errori"
United States v. Frady, 456 U.S. 152, 102 S.Ct. 1584, 71 L.Ed.2d
816 (1982).

Porter must first show that there was cause for his failure to
raise his claim at trial or on direct appeal. In Gilmore v.
Taylor, 113 S.Ct. 2112 (1993), the Supreme Court held that a

decision rendered by the Court of Appeals for the Seventh Circuit

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established a new rule of constitutional law, because the circuit
court had brought general due process standards to bear in a novel
situation. ln that case. the state Supreme Court had recently held
that jury instructions conflicted with the controlling state
statutea Thereafter, the Seventh Circuit concluded that the manner
in which the erroneous instructions had been given violated due
process. ln United States v. Swedzindki, 160 F.Bd 498 (8th Cir.
1998), this Court faced a. similar procedural posture and found
sufficient "cause"i Swedzinski sought § 2255 post-conviction
relief from his conviction for violating 18 U.S.C. § 924(0) by
1'using" or "carrying" a firearm in relation to a drug trafficking
offense. He argued that the jury instructions defining "use" of a
firearm were contrary to the Supreme Court's decision in Bailey v.
United States, 516 U.S. 1327 (1995), a case decided after his
conviction and direct appeal. since Swedzinski had not challenged
the instructions on "use" at trail or on direct appeal, his Bailey
claim was procedurally defaulted. On appeal, the government
conceded that Swedzinski had cause for the default in light of
Eight Circuit law established at the time of trial.

Similarly, at the time of Porter's trial and direct appeal,
this Circuit had not addressed the issue whether the continuing
criminal enterprise statute‘s phrase "series of violations" create
several elements in respect to eagh of which the jury must agree
unanimously and separately. That question was not answered by this
circuit until United states v. 8811, 93 838 126, 129 (1996)
decided the issue, holding that:

The statute, however demands only that the jurors

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agree that there was a continuing series, not that
they agree on which offenses make up that series.

ld., at 129.

The Court's holding in Hall, was squarely rejected by the
Supreme Court in Richardson, No. 97-8629 (1999), where the Court
noted:

To hold that each "violation" here amounts to a
separate element is consistent with a tradition of
requiring juror unanimity where the issue is
whether a defendant has engaged in conduct that
violates the law. To hold the contrary is not.
ld., at page 5.

Finally, this Court has indicated that the
Constitution itself limits a state's power to
define crimes in ways that would permit juries to
convict while disagreeing about means, at least
where that definition risks serious unfairness and
lacks support in history or tradition. Schad v.
Arizona, 501 U.S. at 632-633 (plurality

opinion) ...

ld., at page 6.

The Court further pointed out there was no tradition
reflecting a different practice, which suggests that any such
statute would represent a lesser known exception to ordinary
practice.

If the ineffective assistance claim is deemed without merit,
Porter must also demonstrate “actual prejudice" resulting from the
constitutional depravation worked by the deficient jury
instructions. Frady, 456 U.S. 168, 102 S.Ct. at 1594. The issue is
whether the instructions 1'worked to [Porter's} actual and
substantial disadvantage, infecting his entire trial with error of

constitutional dimensions." 456 U.S. 170, 102 S.Ct. at 1596. The

means by which Porter will meet this challenge is straightforward.

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The jury instructions clearly infected the trial with error of
constitutional dimensions because they deprived Porter of a jury
verdict consistent with his rights under the Sixth Amendment.
Further, the record demonstrates that Porter suffered "actual and
substantial disadvantage' as a result of the deprivation because
the government was not limited to violations of 'Title 21, in
proving the requisite "series of violations". Therefore, the jury
in this case did not return a verdict consistent with Porter's
Sixth Amendment right to a jury. Porter submits the simple
proposition that a trial failing to produce a verdict consistent
with the accused's Sixth Amendment right to a jury is a trial
infected with error of constitutional dimensions. See §§d§£, 119
S.Ct. at 1844 (Scalia, J., dissenting ) ( referring to Sixth
Amendment as "spinal column of American democracy"). Under these
circumstances, it cannot be said that Porter was not disadvantaged
by the instruction's failure to require juror unanimity as to
three such violations.

Finally, the lessons of the Supreme Court teach that, in light
of the nature of the deprivation suffered by Petitioner, this
Court should act with great caution and deference to Porter in
undertaking this "speculation" as to whether a properly instructed
jury would have found him guilty. In Sullivan, the Supreme Court
held that,-while most constitutional errors can be held "harmless"
in terms of their effect of the fact-finding process at trial,
some constitutional errors llwill always invalidate the

conviction.'r 113 S.Ct. at 2081, citing, Chapman v. California, 386

 

U.S. 18, 87 S.Ct. 824, 17 L.Ed.2d 1705 (1967). The Supreme Court

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reasoned that the harmless error analysis is appropriate only when
the jury has rendered a guilty verdict within the meaning of the
Sixth Amendment right to a jury. When such a verdict has not been
rendered, harmless error analysis is inappropriate because it
would entail no more than appellate speculation about what a
hypothetical jury's verdict would have been, rather than whether
the jury's verdict would not surely have been different. 113 S.Ct.
at 2081-82. "[T]o hypothesize a guilty verdict that was never in
fact rendered-- no matter how inescapable the findings to support
that verdict might been would violate the jury-trial guarantee."

Idl

Based on Sullivan, it appeared to some that convictions
resulting from jury instructions which did not require a unanimous
finding by the jury of facts constituting the "functional
equivalent“ of each element of the offense charged were subject to
automatic reversal. See, e.g., Hicks v. Small, 69 F.3d 967 (9th
Cir. 1994) (en banc). In §§de£, however, the Supreme Court
recently held that a jury instruction that omits an element of the
offense does not necessarily constitute a "structural error"
automatically invalidating a conviction rendered in its wake,
despite resulting denial of the accused's Sixth Amendment right to
a jury trial. 119 S.Ct. at 1833. Nonetheless, the combined lessons
of Sullivan and §e§e£ teach that the error resulting from the jury
instructions given in this case defies an accurate examination
into the likelihood of the result would have been different had
the jury been properly instructed. Just as the constitutional

deprivation in Sullivan defied an examination of whether the

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instructions were not prejudicial to the fact-finding process
beyond a reasonable doubt, the deprivation in this case impedes
an accurate examination into the likelihood of whether the
result would have been an acquittal on the CCE offense and, for
the reasons so eloquently put by Judge Scalia dissenting from
the §§de£ majority, this Court should act with great caution
before deciding it would not have been.

Based on the foregoing, the record reflects cause and
prejudice excusing procedural default of Porter's claimed Sixth
Amendment deprivation of his right to a jury trial,
notwithstanding whether' he received ineffective assistance of
counsel.

E. IN LIGHT OF RICHARDSON IT IS PERTINIENT FOR
THIS COURT TO RE-REVIEW THE ISSUE DECIDED
BY THE UNITED STATES SUPREME COURT AS IT
PERTAINS TO PORTERl SHOWING A CHANGE OF
CIRCUMSTANCES.

Had the Court properly instructed, the jury on the
unanimity instructions as required by Richardson and the jury
had been required to list which offense violations they found
that made-up the continuing series this Court would have proof
befroe it that Porter's second conviction and sentence would be
contrary to the Court's holding in Rutledg .

on July 8, 1991, Porter filed his first §2255 motion
entitled: Wayne Porter v. United States of America, no.
C-C-9l-207 P. ln this §2255 motion, Porter made several claims
of error which is incorporated herein by reference and need not
be exhaustively repeated here.

In the first §2255 motion Porter argued that his second

prosecution violated the Fifth Amendment‘s double jeopardy bar

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as to both cumulative punishment and successive prosecution for

the same offense. In denying Porter's requested relief the

Magistrate erroneously found, that the Supreme Court's holding in

Garrett v. United Statesr barred Porter's lesser included offense

argument compare the following factual finding of the Magistrate:
But the lesser included offense double jeopardy
analysis was exactly the type of reasoning that the
Supreme Court in Garrett held was not applicable to
multi-layered offenses such as CCE.

See Magistrate Memorandum and Recommendation at p.lZ.

This is precisely the reason that the Supreme Court
in Garrett held that multi-layered offenses like CCE

Id., Magistrate Memorandum and Recommendation, at p.l9.

The District Court, in denying Porter's first §2255 motionr
accepted the government's and Magistrate's premise that the
Supreme Court's holding in Garrett barred Porter's double
jeopardy claim that he was twice placed in jeopardy for the same
offense, continuing criminal enterprise (§848), after he had
previosly plead guilty to a conspiracy to import and distribute
marijuana in violation of §§846 and 963, despite the fact
that--those convictions were relied on as predicate offenses
required for a conviction in his second prosecution for CCE.
Compare for example, the Court's holding:

After conducting this de nova review the Court believes
that the record supports the Magistrate's finding of
fact. The Court also believes that the Magistrate has
except two. The first is Petitioner's alleged right
to have his conspiracy convictions vacated. The second
is any implication that the Petitioner may have some
remedy because of a lack of due dilligence between the
time the Government was aware of Petitioner's

violations and its decision to bring the CCE charges.

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§d;, District Court's Order at pp. 3 and 4.

The Magistrate's cited analysis of the Court's holding in
Garrett is in direct conflict with what the Court in Rutledge
explained their holding in Garrett to be. The Court pointed-out

that:

though he had previously pleaded guilty to a predicate
crime of importing marijuana. That holding, however,
merely adhered to our understanding that Legislatures
have traditionally preceived a qualitive difference
between conspiracy~like crimes and substantive
offenses upon which they are predicated. See e.g.,
United States v. Felix, 503 U.S. 378, 389, 390, 118
L.Ed.2d 25, 112 S.Ct. 1377 (l992)(allowing prosecution
for conspiracy after petitioner was convicted of
underlying substantive offenses, and citing Garrett as
a simular case). No such differance is present here.
In contrast to the crimes involved in Garrett, this
case involves two conspiracy-like offenses directed at
largely indentical conduct. Jeffers v. United States,
432 U.S. 137, 157, 53 L.Ed.2d 168r 97 S.Ct. 2207
(1977), Garrett, 471 U.S. at 794, 85 L.Ed.Zd 764, 105
S.Ct. 2407 ([T}he plurality [in Jeffers] resonalbly
concluded that the dangers posed by a conspiracy and a
CCE were similar and thus there would be little
purpose in cumulating the penalties}.

Rutledge at 134 L.Ed.2d 428, n. 12 (Emph. added).
[t]here is inn reason why this pair of greater and
lesser offenses should present any novel problem
beyond that posed by any other greater and lesser
included offenses, for which the Court's have ’all
ready developed rules to avoid the perceived danger.
Rutledger 134 L.Ed2d at 431.

Contrary to the Magistrate and this Court's holding that
Garrett barred Porter's double jeopardy claim, the Rutledge
Court pointed-out that there is no exception to the rule made by
Garrett as this court found to deny Porter's first §2255, that
allows a defendant to be prosecuted for the lesser offense
conspriacy (§846) and then prosecuted for the greater offense

§848.

_29...
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Therefore, Porter's second conviction is _ppt only contrary to
law, but, based upon a mistaken view of law, and upon an
erroneous application of legal principles requiring reversal of
Porter's second conviction.
F. THE COURT'S HOLDING IN RUTLEDGE ALSO BARS
cUnULATIVE PUNISHMENT FoR coNsPIRACY (§846)
AND CONTINUING CRIMINAL ENTERPRISE (§848)
Even-though, the Magistrate's correctly stated that:
"Although his [Porter] sentences on these counts have already
been vacated, he is entitled under a recent clarification of
Fourth ercuit law 'ma have the convictions on the conspiracy
counts vacated." (ld., Magistrate's Memorandum and Recommendation
at pp.21 and 22). The Court's reasoning for rejecting this
porthmi of the Magistrate's Memorandum and Recommendation was
because the Magistrate had applied an unpublished opinion which
could not serve as precedent requiring reversal of Porter's CCE
conspiracy predicate offense conviction despite the fact that, at
that time there were at least twelve published opinions, from
this Circuit that reached the identical same conclusion--not to
mention at least 70 other published opinions from other Circuit
Court's that have reached the identical same conclusion. Infact,
after reading every opinion that has been published and numerous
unpublished opinions on CCE appeals, Porter is yet to find one
published opinion that allowed a defendant such as in Porter's
case to have a consecutive sentence and conviction for a
conspiracy offense that was relied on as one of the continuing
series of violations required for the CCE conviction; other than

the one exception; your Petitioner.

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Therefore, since this Court has no jurisdiction over

Porter's rior conviction and sentence for cons irac in the
P Y

holding in Rutledge that:

A guilty verdict on a §848 charge necessarily includes
a finding that the defendant also participated in a
conspiracy violative of §846; conspiracy is therefore
a lesser included offense of CCE. Because the

authorize only one punishment. Accordingly, "[O]ne of
[petitioner's] convictions, as well as its concurrent
sentence, is unauthorized punishment for a separate
offense" and must be vacated. Ball 470 U.S. at 864, 84
L.Ed.Zd 740, 105 S.Ct. 1668.

 

;g., 134 L.Ed.zd 432.
The Court also stated: "Thus the second conviction, even
if it results in no greater sentence, is an impermissible

punishment." Id.r 134 L.Ed.2d 429. Therefore, the second

CONCLUSION
Wherefore, for the foregoing reasons, Petitioner, Wayne
Porter, respectfully moves this Honorable Court to vacate his
conviction and sentence in the Western District of North

Carolina.

Respectfully submitted, this the 25 day of H , 2000.

WAYNE PORTER

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I, Wayne Porter,

CERTIFICATE OF SERVIE§

certify that I have mailed one copy of the

attached Title 28, U.S.C. § 2255 Motion And Memorandum Of Law, to

the Assistant United States Attorney's Office, addressed as

follows:

MR. KENNETH D. BELL

ASSISTANT UNITED STATES ATTORNEY
ROOM 221, 401 WEST TRADE STREET

CHARLOTTE, NORTH CAROLINA 28202

This the 315 day of ZZ;SL , 2000.

%M, apart

wAYNE PoRTER

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